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                               UN ITED STA TES D ISTRICT CO URT
                               SOUTH ERN DISTRICT OF FLORIDA

                                        CaseN o.:20-M J-02247-CM M


   RE:

   SEA LED CRIM IN A L CO M PLA IN T




                                       O RD ER TO UN SEAL

          Thiscause cam e before thisCourton the Government'sM otion to U nseal. The Court

   being fully advised in the prem ises,itishereby

          O RDER ED A ND AD JUD GED thatthe Government'sM otion ishereby granted,and

   theClerkoftheCourtshallunsealthecriminalcomplaint(DE 1)andaccompanyingdocuments.
                                                            %
          DO NE AN D O RD ERED atM iam iFlorida,this         day ofFebruary 2020.

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                                              HON OM BLE CHRIS M .M CALILE
                                              UNITED STATES M A GISTRA TE JU DGE


   cc:A USA M ichaelThakur
